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                                         ORDERED.

         Dated: December 07, 2018




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

In re:                                             Case No. 18-05497
                                                   Chapter 7
 FRANCISCO RIVERA


         Debtor         /

    ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
          AND RL REALTY TO PROCURE CONSENTED PUBLIC SALE
                 PURSUANT TO 11 U.S.C. §327, 328 AND 330

          Upon the Notice and Application of Arvind Mahendru, the trustee in the above-captioned

 case (“Trustee”), to Retain BK Global Real Estate Services (“BKRES”) and RL Realty (“Listing

 Agent”) to Procure Consented Public Sale pursuant to 11 U.S.C. § 327, 328 and 330

 (“Application”) [DE#7], the Court having reviewed and considered the Application and the

 Affidavit of Disinterestedness and having found good and sufficient cause appearing therefore

 and the same to be in the best interest of Debtor and the creditors the Court hereby FINDS that:

             A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

             B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.

          §§ 1408 and 1409.

             C. Notice of the Application was sufficient under the circumstances.

                  Based upon the foregoing findings of fact, it is hereby
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       ORDERED, ADJUDGED, AND DECREED that:

       1.      The Application is hereby GRANTED.

       2.      Defined terms not otherwise defined herein have the meanings given to them in

the Application and the Affidavit.

       3.      The Trustee is authorized to retain and compensate BKRES and Listing Agent to

procure Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s

Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and

Bankruptcy Rules 2014 and 2016, in accordance with the terms and conditions set forth in the

BKRES Agreement, the Listing Agreement and this Order. BKRES and Listing Agent shall not

split or otherwise share their fees with any other person or entity.

       4.      BKRES and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

       5.      BKRES and Listing Agent shall be compensated in accordance with the BKRES

Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be

subject to challenge except under the standard of review set forth in Section 330 of the

Bankruptcy Code.

       6.      BKRES and Listing Agent shall be authorized to receive and retain their fees

from Secured Creditor at the successful closing of the sale of the Property without necessity of

further order of the Court. The estate shall, in no circumstance, be obligated to compensate

BKRES or Listing Agent in such event and BKRES and Listing Agent shall not have a claim

against the estate for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by,

through or under either of them, shall only have recourse for recovering its fee to Secured

Creditor. The estate shall have no liability for any such claim.
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       7.      Notice of the Application was adequate and proper.

       8.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.


Trustee Arvind Mahendru is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
